                                          AJ K. PA EL
              1239 Spring Lake Dri e, Bro nsb rg, IN 46112 (m) 317-450-6651 rajp2010@gmail.com
                                             .linkedin.com/in/rpa el1992

J l 9, 2020

Hon. Vic or Marrero, J dge
c/o Clerk of Co r
500 Pearl S ree
Ne York, NY 10007
No.: 1:19-c -08694-VM

RE: Possible Rela ed Ma erial o Doe v. The Trump Corp., No. 20-1706 (2d Cir. ____) from he
      Doc rine of Comi in Trump v. Vance, Jr. et al. (S.D.N.Y. 20__), Trump v. Vance, No. 19-3204
      (2d. Cir. No . 4, 2019), and Trump v. Vance, No. 19-635, 591 U.S. ___ (2020)

ATTACHMENT: Appendi A (one page in o al)

TOTAL PAGES: 3 (incl ding his page and a achmen )


Hello Yo r Honor:

        I am le ing his co r kno ha I am searching he docke s of No.: 1:19-c -08694-VM o see if
Presiden Tr mp s a es sho rela ionships o Emor Uni ersi , Inc., Uni ersi of No re Dame La
School, he S a e of Indiana or Federal Go ernmen beca se I had m ord pa erns s olen b Presiden
Tr mp and beca se I hope o find s ppor i e ma erial for m iss es in Doe v. The Trump Corp., No. 20-
1706 (2d. Cir. ____). Appendi A, Doe v. The Trump Corp., No. 20-1706 (2d. Cir. ____), and Doe et al.
v. The Trump Corp. et al., No. 1:18-c -09936-LGS (S.D.N.Y. ____), Dk . 272. See also Doe et al. v.
The Trump Corp. et al., No. 18-1228 (2d Cir. ____). In addi ion, I hink ha Presiden Tr mp engaged
in nla f l and ncons i ional R.I.C.O., hones ser ices fra d, social engineering, correc i e effor s,
amongs o her claims, e en if a lo er rib nal (en camera) held a proceeding in hese cases. Appendi
A, see generally Doe v. The Trump Corp., No. 20-1706 (2d. Cir. ____), Dk . 8, and U.S. cons . amend.
XIV and amend. V.

       I o ld also like o ask he Dis ric A orne , o assis , in his case, and in Doe v. The Trump
Corp. o see if he can p blicl s a e ha he is a are of he aforemen ioned effor s of R.I.C.O., social
engineering, or correc ion effor s.

        Co r of Appeals Chief J dge Ka mann, joined b circ i j dges Chin and Drone , s a ed ha
 iola ions of impor an s a e f nc ions is a iola ion of he doc rine of comi . Trump v. Vance, No. 19-
3204 (2d. Cir. No . 4, 2019), Dk . 151 a 10-11. The Doc rine of Comi incl des a proper respec for
s a e f nc ions, a recogni ion of he fac ha he en ire co n r is made p of a Union of separa e s a es
go ernmen s, and a con in ance of he belief ha he Na ional Go ernmen ill fare bes if he S a es
and heir ins i ions are lef free o perform heir separa e f nc ions in heir separa e a s. Trump v.
Vance, No. 19-3204 (2d. Cir. No . 4, 2019), Dk . 151 a 10-11 (q o ing Younger v. Harris, 401 U.S. 37,
43-44 (1971) (in ernal ci a ions omi ed)). Impor an s a e, separa e f nc ions incl de char ering
organi a ions (i.e. corpora ions, schools, and ni ersi ies) and main aining Order aro nd and i hin ha
char ered space, per i s police po ers. But see he Foreign Commerce Cla se and In ers a e Commerce
Cla se. Sho ld m allega ions be r e, hen Presiden Tr mp e al. ha e iola ed he Doc rine of Comi
b in erfering he impor an ork of he s a e, a char ered organi a ion. Doe v. The Trump Corp., No.

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20-1706 (2d. Cir. ____) and Doe et al. v. The Trump Corp. et al., No. 1:18-c -09936-LGS (S.D.N.Y.
____), Dk . 272. As I ha e heard, Friends don s eal from friends.

        I add ha he Uni ed S a es Cons i ion and he Federalis Projec is of en imes considered a
social agreemen or a social e perimen , respec i el . From an Originalis perspec i e, and possibl
o her perspec i es, he Uni ed S a es Cons i ion is a friendship con rac , per he Doc rine of Comi
(e.g. comi meaning friendship ), and he Federalis Projec is a friendship e perimen , per
Federalist Paper No. 10. The friends, incl de b are no limi ed o, he indi id al Americans, Sis er
S a es, af er forma ion, he Federal So ereign and char ed organi a ion. In s ppor of m proposi ion, e
ma also look a o her Common La Projec s, incl ding he former Bri annic Colon of Bri ish India,
no primaril i hin he poli ical bo ndaries of he So ereign Socialis Sec lar Democra ic Rep blic
(e.g. India ), hose Cons i ion s preamble incl des he al e of Fra erni . India Cons . pmbl.
(JUSTICE LIBERTY EQUALITY o promo e among hem all FRATERNITY ass ring he digni
of he indi id al and he ni and in egri of he Na ion ).

      I am happ o disc ss f r her o er e-mail a rajp2010@gmail.com or hro gh m cell phone a
317-450-6651. Thank o for ime and considera ion, and I look for ard o hearing back from o .


Bes ,




Raj Pa el
J.D. Candida e, No re Dame La School 2021 or 2022

S den Bod Presiden , S den Go ernmen Associa on 2013-2014
Vice Presiden of Finance (Independen ), College Rep blicans 2011-2012
S den Bod Presiden , Bro nsb rg Comm ni School Corpora ion 2009-2010
Vice Chair, Indiana High School Democra s 2009-2010
Dep    Regional Direc or, Yo ng Democra s of America-High School Ca c s 2008-2009

Represen a i e from he No re Dame S den Bar Ass n o he Ind. S a e Bar Ass n 2017


CC:

The Honorable J dges                The Honorable J dges                Hon. Lorna Schofield, J dge
c/o Clerk of Co r                   c/o Clerk of Co r                   c/o Clerk of Co r
40 Fole Sq are                      40 Fole Sq are                      500 Pearl S ree
Ne York, NY 10007                   Ne York, NY 10007                   Ne York, NY 10007
No.: 20-1706                        No.: 19-3204                        No.: 1:18-c -09936-LGS




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                                             APPENDIX A

       The follo ing amended e per from m pending Mo ion In S ppor of M No ice of Appeal
(Pro Se) Seeking o O er rn he So hern Dis ric Co r of Ne York s Denial of M Mo ion For
Permissi e In er en ion in Doe v. The Trump Corp., No. 20-1706 (2d. Cir. ____), Dk . 8:

          I, Raj K. Pa el (pro se), respec f ll mo e Co r of Appeals in s ppor o o er rn he So hern

Dis ric Co r of Ne York, Ne York s decision o den m permissi e in er en ion. P rs an o R le

24(b)(1)(B) of he Federal R les of Ci il Proced re, I share, i h Jane Doe e al. s main ac ion, a leas

one common q es ion of la or fac . Fed. R. Ci . P. 24(b)(1)(B); Doe v. The Trump Corp., No. 20-1706

(2d. Cir. ____); Doe et al. v. The Trump Corp. et al., No. 1:18-c -09936-LGS (S.D.N.Y. ____); and Doe

et al. v. The Trump Corp. et al., No. 18-1228 (2d Cir. ____). Doe e al. s ac ion in ol es (i) he

in erpre a ion of Sec ion 1961 of Ti le 18 of he Uni ed S a es Code, Racke eer Infl enced and Corr p

Organi a ions ( R.I.C.O. ) Ac agains Presiden Donald J. Tr mp, in his personal capaci , i h ire

fra d or hones ser ices fra d, Sec ion 1343 of Ti le 18 of he Uni ed S a es Code, embedded in he

R.I.C.O. claim as i s predica e crime, hich, I arg e, are he same la s ha Presiden Donald J. Tr mp,

in his personal capaci , Uni ed S a es Presiden ial Candida e capaci , and Uni ed S a es Presiden ial

capaci , has iola ed and is iola ing, (ii) he in erpre a ion of conspirac   o cond c R.I.C.O.

racke eering ac i i ies, hich, I arg e, is rela ed o he aforemen ioned R.I.C.O. iola ions, (iii) he

in erpre a ion of common la fra d, hich, I arg e, is rela ed o he R.I.C.O.-hones ser ices fra d and

hones ser ices fra d claim, and (i ) he in erpre a ion of fi e o al co n s of rongf l b siness

prac ices, hich, I arg e, is rela ed o he rongf l prac ices of R.I.C.O., hones ser ices fra d, and

    hef . 18 U.S.C.   1961 1968; 18 U.S.C.    1343 1346; see also Compl. a 131 and 137-160, Doe et

al. v. The Trump Corp. et al., No. 1:18-c -09936-LGS (S.D.N.Y. ____), Dk . 1.




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